Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 1 of 12

UNITED STATES DISTRICT COURT JUDGE FORREST
SOUTHERN DISTRICT OF NEW YORK

  

UNITED STATES OF AMERICA : CIMA
- Vv. - : INDICTMENT
ROSS WILLIAM ULBRICHT, : 14 “Fr.
a/k/a “Dread Pirate Roberts,” :
a/k/a “DPR,” en
a/k/a “Silk Road,” : Ds gan
Defendant.
- 5 ee ee ee ee
COUNT ONE

 

(Narcotics Trafficking Conspiracy)

The Grand Jury charges:

BACKGROUND

1. In or about January 2011, ROSS WILLIAM ULBRICHT, a/k/a
“Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” the
defendant, created an underground website known as “Silk Road,”
designed to enable users across the world to buy and sell
illegal drugs and other illicit goods and services anonymously
and outside the reach of law enforcement.

2. From in our about January 2011 through in or about
October 2013, when the Silk Road website was shut down by law
enforcement authorities, ROSS WILLIAM ULBRICHT, a/k/a “Dread
Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” the defendant,
owned and operated Silk Road. During that time, Silk Road

emerged as the most sophisticated and extensive criminal
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 2 of 12

marketplace on the Internet. The website was used by several
thousand drug dealers and other unlawful vendors to distribute
hundreds of kilograms of illegal drugs and other illicit goods
and services to well over a hundred thousand buyers worldwide,
and to launder hundreds of millions of dollars deriving from
these unlawful transactions.

3. ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, controlled all
aspects of Silk Road, with the assistance of various paid
employees whom he managed and supervised. Through his ownership
and operation of Silk Road, ULBRICHT reaped commissions worth
tens of millions of dollars, generated from the illicit sales
conducted through the site.

4. In seeking to protect his criminal enterprise and the
illegal proceeds it generated, ROSS WILLIAM ULBRICHT, a/k/a
“Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,” the
defendant, pursued violent means, including soliciting the
murder-for-hire of several individuals he believed posed a
threat to that enterprise.

STATUTORY ALLEGATIONS

 

5. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”

a/k/a “DPR,” a/k/a “Silk Road,” the defendant, and others known
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 3 of 12

and unknown, intentionally and knowingly did combine, conspire,
confederate, and agree together and with each other to violate
the narcotics laws of the United States.

6. It was a part and an object of the conspiracy that
ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, would and did distribute and possess with the intent to
distribute controlled substances, in violation of Title 21,
United States Code, Section 841 (a) (1).

7. It was further a part and an object of the conspiracy
that ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, would and did deliver, distribute, and dispense
controlled substances by means of the Internet, in a manner not
authorized by law, and aid and abet such activity, in violation
of Title 21, United States Code, Section 841(h).

8. It was further a part and an object of the conspiracy
that ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, would and did knowingly
and intentionally use a communication facility in committing and
in causing and facilitating the commission of acts constituting
a felony under Title 21, United States Code, Sections 841, 846,
952, 960, and 963, in violation of Title 21, United States Code,

Section 843(b).
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 4 of 12

9. The controlled substances that ROSS WILLIAM ULBRICHT,
a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,”
the defendant, conspired to distribute and possess with the
intent to distribute included, among others, 1 kilogram and more
of mixtures and substances containing a detectable amount of
heroin, 5 kilograms and more of mixtures and substances
containing a detectable amount of cocaine, 10 grams and more of
mixtures and substances containing a detectable amount of
lysergic acid diethylamide (LSD), and 500 grams and more of
mixtures and substances containing a detectable amount of
methamphetamine, its salts, isomers, and salts of its isomers,
in violation of Title 21, United States Code, Sections 812,

841 (a) (1), and 841(b) (1) (A).
Overt Acts

10. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and
elsewhere:

a. In or about January 2011, ROSS WILLIAM ULBRICHT,
a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,”
the defendant, created the Silk Road website, providing a
platform for drug dealers around the world to sell a wide

variety of controlled substances via the Internet.
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 5 of 12

b. On or about March 29, 2013, ROSS WILLIAM
ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk
Road,” the defendant, in connection with operating the Silk Road
website, solicited a Silk Road user to execute a murder-for-hire
of another Silk Road user, who was threatening to release the
identities of thousands of users of the site.

on On or about October 1, 2013, ROSS WILLIAM
ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk
Road,” the defendant, logged on as a site administrator to the
web server hosting the Silk Road website.

(Title 21, United States Code, Section 846.)

COUNT TWO
(Continuing Criminal Enterprise)

The Grand Jury further charges:

11. The allegations contained in paragraphs 1 through 4 of
this Indictment are repeated and realleged as if fully set forth
herein.

12. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, engaged in a
continuing criminal enterprise, in that he knowingly and
intentionally violated Title 21, United States Code, Sections
841, 843 and 846, which violations were part of a continuing

series of violations of the Controlled Substances Act, Title 21,

5
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 6 of 12

United States Code, Section 801, et seq., undertaken by
ULBRICHT, in concert with at least five other persons with
respect to whom ULBRICHT occupied a position of organizer, a
supervisory position, and a position of management, and from
which such continuing series of violations ULBRICHT obtained
substantial income and resources.

(Title 21, United States Code, Section 848(a).)

COUNT THREE
(Computer Hacking Conspiracy)

The Grand Jury further charges:

13. The allegations contained in paragraphs 1 through 4 of
this Indictment are repeated and realleged as if fully set forth
herein.

14. In addition to providing a platform for the purchase
and sale of illegal narcotics, the Silk Road website also
provided a platform for the purchase and sale of malicious
software designed for computer hacking, such as password
stealers, keyloggers, and remote access tools. While in
operation, the Silk Road website regularly offered hundreds of
listings for such products.

STATUTORY ALLEGATIONS

 

15. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”

a/k/a “DPR,” a/k/a “Silk Road,” the defendant, and others known
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 7 of 12

and unknown, intentionally and knowingly did combine, conspire,
confederate, and agree together and with each other to commit
computer hacking in violation of Title 18, United States Code,
Section 1030(a) (2).

16. It was a part and an object of the conspiracy that
ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, would and did intentionally access computers without
authorization, and thereby would and did obtain information from
protected computers, for purposes of commercial advantage and
private financial gain, and in furtherance of criminal and
tortious acts in violation of the Constitution and the laws of
the United States, in violation of Title 18, United States Code,
Section 1030(a) (2).

(Title 18, United States Code, Section 1030(b).)

COUNT FOUR
(Money Laundering Conspiracy)

The Grand Jury further charges:

17. The allegations contained in paragraphs 1 through 4
and paragraph 14 of this Indictment are repeated and realleged
as if fully set forth herein.

18. ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, designed Silk
Road to include a Bitcoin-based payment system that served to

facilitate the illegal commerce conducted on the site, including
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 8 of 12

by concealing the identities and locations of the users
transmitting and receiving funds through the site.

STATUTORY ALLEGATIONS

 

19. From in or about January 2011, up to and including in
or about October 2013, in the Southern District of New York and
elsewhere, ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,” a/k/a “Silk Road,” the defendant, and others known
and unknown, intentionally and knowingly did combine, conspire,
confederate, and agree together and with each other to commit
money laundering, in violation of Title 18, United States Code,
Sections 1956(a) (1) (A) (i) and 1956 (a) (1) (B) (i).

20. It was a part and an object of the conspiracy that
ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, in offenses involving and affecting interstate and
foreign commerce, knowing that the property involved in certain
financial transactions represented proceeds of some form of
unlawful activity, would and did conduct and attempt to conduct
such financial transactions, which in fact involved the proceeds
of specified unlawful activity, to wit, narcotics trafficking
and computer hacking, in violation of Title 21, United States
Code, Section 846, and Title 18, United States Code, Section

1030, respectively, with the intent to promote the carrying on
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 9 of 12

of such specified unlawful activity, in violation of Title 18,
United States Code, Section 1956 (a) (1) (A) (i).

21. It was further a part and an object of the conspiracy
that ROSS WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a
“DPR,” a/k/a “Silk Road,” the defendant, and others known and
unknown, in offenses involving and affecting interstate and
foreign commerce, knowing that the property involved in certain
financial transactions represented proceeds of some form of
unlawful activity, would and did conduct and attempt to conduct
such financial transactions, which in fact involved the proceeds
of specified unlawful activity, to wit, narcotics trafficking
and computer hacking, in violation of Title 21, United States
Code, Section 846, and Title 18, United States Code, Section
1030, respectively, knowing that the transactions were designed
in whole and in part to conceal and disguise the nature, the
location, the source, the ownership, and the control of the
proceeds of specified unlawful activity, in violation of Title
18, United States Code, Section 1956(a) (1) (B) (i).

(Title 18, United States Code, Section 1956(h).)

FORFEITURE ALLEGATIONS

 

22. As a result of committing the controlled substance
offenses alleged in Counts One and Two of this Indictment, ROSS
WILLIAM ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,”

a/k/a “Silk Road,” the defendant, shall forfeit to the United
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 10 of 12

States, pursuant to Title 21, United States Code, Section 853,
any property constituting, or derived from, any proceeds the

defendant obtained, directly or indirectly, as a result of the
offense and any property used, or intended to be used, in any
manner or part, to commit, or to facilitate the commission of,

the offenses.

23. As a result of committing the computer hacking offense
alleged in Count Three of this Indictment, ROSS WILLIAM
ULBRICHT, a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk
Road,” the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 982 (a) (2) (B),
any property constituting, or derived from, proceeds obtained
directly or indirectly as a result of the offense.

24. As a result of committing the money laundering offense
alleged in Count Four of this Indictment, ROSS WILLIAM ULBRICHT,
a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road,”
the defendant, shall forfeit to the United States, pursuant to
Title 18, United States Code, Section 982(a) (1), any property,
real or personal, involved in the offense, or any property

traceable to such property.

10
Case 1:14-cr-00068-LGS Document12 Filed 02/04/14 Page 11 of 12

Substitute Asset Provision
25. If any of the above-described forfeitable property, as
a result of any act or omission of the defendant:
(1) cannot be located upon the exercise of due diligence;
(2) has been transferred or sold to, or deposited with, a
third person;
(3) has been placed beyond the jurisdiction of the Court;
(4) has been substantially diminished in value; or
(5) has been commingled with other property which cannot
be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 18,
United States Code, Section 982(b) and Title 21, United States
Code, Section 853(p), to seek forfeiture of any other property
of the defendant up to the value of the above-described
forfeitable property.
(Title 18, United States Code, Sections 981 and 982,

Title 21, United States Code, Section 853;
Title 28, United States Code, Section 2461.)

ef : we
- FOREPERSON PREET BHARARA‘RT
uf United States Attorney

11
Case 1:14-cr-00068-LGS Document 12 Filed 02/04/14 Page 12 of 12~* -

Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
- Vv. -

ROSS WILLIAM ULBRICHT,
a/k/a “Dread Pirate Roberts,”
a/k/a “DPR,”

a/k/a “Silk Road,”

Defendant.

 

INDICTMENT
14 Cr.

(21 U.S.C. § 846, 848(a);

3 U.S.C. §§ M1030(b) & 1956 (h))
Zonwlt Lf _<—" pREET BHARARA

ZA fo ES States Attorney.

hy Pleat frbletaeaye
O° Gus asia fits OS

 
